
PER CURIAM:
This claim was submitted for decision based upon the allegations in the Notice of Claim and respondent's Answer.
Claimant seeks to recover $90.00 in towing expenses which she was charged when her grandson’s 1989 Honda was improperly towed due to respondent’s failure to update the renewal notice for the vehicle. Since the registration and license plate number did not match, the Ceredo Police towed the vehicle.
In its Answer, respondent admits the validity of the claim as well as the amount, and states that there were sufficient funds expired in that appropriate fiscal year from which the invoice could have been paid.
In view of the foregoing, the Court is of the opinion to and does make an award to claimant in the amount of $90.00.
Award of $90.00.
